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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


   JOHN DOE,                                    )
                                                )
                                Plaintiff,      )
                                                )
                        vs.                     )       No. 1:16-cv-1266-TWP-DKL
                                                )
   BUTLER UNIVERSITY, et al.,                   )
                                                )
                                Defendants.     )


                                  Order Lifting Stay

        On January 8, 2018, the undersigned denied the plaintiff’s motion to continue

 proceeding anonymously, but stayed for thirty days the order directing that all

 future public filings use the plaintiff’s true name.

        More than thirty days have passed since the undersigned denied the motion.

 Therefore, in accordance with the Order on Plaintiff’s Motion to Continue

 Proceeding Anonymously (Dkt. 108), the stay of the Order is LIFTED and it is now

 ORDERED that all future public filings use the plaintiff’s true name.

         So ORDERED.

   Date: 2/26/2018
                                              ____________________________________
                                                 Debra McVicker Lynch
                                                 United States Magistrate Judge
                                                 Southern District of Indiana


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